  Case 4:17-cv-00868-O Document 156 Filed 07/24/18                  Page 1 of 1 PageID 3762


                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 CHAD EVERETT BRACKEEN, et al.,                   §
                                                  §
        Plaintiffs,                               §
                                                  §
 v.                                               §   Civil Action No. 4:17-cv-00868-O
                                                  §
 RYAN ZINKE, et al.,                              §
                                                  §
        Defendants,                               §
                                                  §
 CHEROKEE NATION, et al.,                         §
                                                  §
        Intervenor-Defendants.                    §


                                              ORDER

       The Court sets Plaintiffs’ Motions for Summary Judgment (ECF Nos. 72, 79) for hearing

at 9:00 a.m. on Thursday, August 2, 2018. Counsel for all parties are ORDERED to attend and

to be prepared to address all issues relating to the Plaintiffs’ motion for summary judgment briefing

in this case. The hearing will convene in the United States District Judge’s Second Floor

Courtroom, 501 West 10th Street, Fort Worth, Texas.

       SO ORDERED on this 24th day of July, 2018.



                                             _____________________________________
                                             Reed O’Connor
                                             UNITED STATES DISTRICT JUDGE




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